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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


RADLEY BRADFORD                                   §
                                                  §
                                                  §
V.                                                §         4:23cv2808
                                                  §
CAPITAL ONE AUTO FINANCE, INC.                    §



                           NOTICE OF CANCELLATION
The following setting is CANCELLED before Senior United States District Judge Sim Lake.
                        Initial Pretrial and Scheduling Conference

Date:          November 17, 2023

Time:          2:00 p.m.

Place:         United States Courthouse,
               515 Rusk
               Courtroom 9-B, 9th Floor
               Houston, Texas

To:            All Parties of Record


For inquiries regarding the above setting please contact:

Sheila R. Anderson,
Case Manager for
Senior United States District Judge Sim Lake

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November 8, 2023
